Case 1:05- -cv-00326-LG-JMR Document 77. Filed 08/14/08 ey fe 1 of 3
Vee

What Do You Know About Sexual Harassment? — ‘APreTest
Mark your response to each.of the following. True or False.

ie sce tar ie tn oor
appearance “invited” sexual comments: . ,

sete seca harassment is a form of discrimination, prohibited by federal law.

(igen estan
occurring there. a

5 Lale wnat may be sexual harassment to a recipient will not form the basis for Hability if the person making ‘the
comments or doing the behavior can establish he meant nothing by them, co

. 6. Cals bein ‘most cases, it is okay for a recipient of alleged “quid pro quo” (sex for promotion, favored treatment, etc.)

+. sexual harassment to personally meet with the alleged harasser to address her coacems and to end tie harassment.

Ty ie Good-intentioned, fun-loving, or playful physical contact or comments that may possibly be considered be of
sexual nature are not forms of actionable sexual harassment:

- leu. Ag agency can be held accountable for sexual harassment of employees ¢ committed by. an outside vendor visiting -
the premises. .

9 Tue What is sexual harassment to one person may not’ be sexual harassment to another person who heard the same -
comment or was subjected to the same behavior.

of 10 Kaloevos hear F Fumors that an older: agency member who has been with the agency for many years has been sexually
harassing a new young. female worker assigned to your unit, and that the woman has been visibly upset by the older -

member’s conduct. The older member has a reputation of telling sex-based jokes, but “meaning. nothing by it” when he

says it. No complaint has been received. To be fair to all involved, you: should avoid involvement as a supervisor unless

. and until a complaint has been lodged.

. II uTQuea co-worker who was once romantically involved with another co-worker can claim sexual harassment if the
_ former co-worker continues to make comments of an unwelcome sexual nature to: her. .

+42 Steen group of workers have worked together for y years. Over time, they have developed a “group sense of humor”
that often has ‘resulted in risqué jokes being told or sexually explicit cartoons being circulated. No one in the. group
oe appears offended by the jokes or cartoons. As long as the group keeps the humor within the. group, there is no cause for

_ Concern about sexual harassment liability.

on Bb [elle supervisors may. be-liable for: sexual harassment occurring under their watch only if i it can be established that ©
the se Supervisor had actual Knowledge « of the harassment situation and failed to respond appropriately.

14 ARME write sexual harassment ni may / subject agency members to disciplinary action, retaliation against a complainant .
by one or more members of an agency is not an appropriate basis for disciplinary Tesponse. ooo

isffleca recipient of alleged harassment discusses her concerns with you, and asks you to do no more because “All I
amt to do was to talk to someone.” Since the complainant has voluntarily waived an interest in agency follow-up, once

you have documented the: mecting, no further action will be necessary.

. Ramage Sexual Harassment Training: February, 1995—AASxpretst

Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 2 of 39

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 _ Page 4 of 39

This is to acknowledge that I received a copy of the Harrison County Adult Detention
Center Policy and Procedure Directives. I understand that if I should resign or be
terminated I will be responsible for returning the completed copy in with my issued
equipment. |

—salyafol-

Datd Issued

. Issuints Employee
Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 5 of 39

JUSTICE CONSENT ORDER RECORD OF TRAINING

Name: ~ eee ISHAISE __ Date: 7) lo/or
Address: | T1OU Jabour De

City: Saucier. State:!7§ Zip: 3295 7
Telephone No.: (228) ¥31-3¢76

Facility Assignment (if known):

Hire Date: 2) /e/o, Rank/Position (if known) (sepectitnal b£licex

Class Date: 2/ 1G / 0]

I have received a copy of the case U.S. versus Harrison County,
specifically known as the Consent Judgment in addition to the 2" and 3
Supplemental Reports following same.

The above documents have been fully explained to me and I
acknowledge receipt of a copy of same.

I understand and hereby agree to comply with the terms, conditions
and obligations set forth in the above order and supplements to the best of
my ability in my duties as an employee of the Harrison Coxnty Sheriffs

Department.

Copies to: Capt. Taylor
Capt. Lacy
Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 6 of 39

HARRISON COUNTY SHERIFF’S DEPARTMENT -- INMATE HANDBOOK
ADULT DETENTION CENTER

HANDBOOK ISSUED TO erred era 6é

Print Name

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DATE HANDBOOK ISSUED 2h, / Yel

This manual is issued to you as an employee of the Harrison County Sheriff's
Department Correctional Division.

Major Dianne Gatson-Riley
Director of Corrections
Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 7 of 39

This is to acknowledge that I received a copy of the Harrison County Adult Detention
Center Policy and Procedure Directives. I understand that if I should resign or be
terminated I will be responsible for returning the completed copy in with my issued
equipment.

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Datd Issudd

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Page 8 of 39

Filed 08/14/08

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Page 9 of 39

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Case 1:05-cv-00326-LG-JMR Document 77:

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page

FTO MODULE PERFORMANCE CHECKLIST

. Chapter oe .
Modular Title: CONTROL ROOM

nance Objective: Following demonstration by the

~
. ated Field Trainer, the trainee will safely and co es
ae . . . < . a . an .
securely monitor inmates and the block/sections. Answer |.8 ©  f-8 a
_ | requests by telephone, intercoms, and radio. Control and 3 fu Zz 3 8
: . . : : : ‘ > a cy ,
| verify counts, contro! and document access in and out of © 2. 2 pap a fas
: : : . c- 8. oo |
- the block/sections, and conduct and monitor visits/church’ | 4 | 29S » 25 #: Be
- : = ee . . 3 poss . : =
Services. Properly notate all activities relating to medical. eels g x & | E/E] 2 2
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Balog's2},.26 12 £5
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a CO oe SSlmae gs. Soule eS
TH ENTER CONTROL ROOM AND NOTIF Y CENTRAL-
| ‘RECEIVE BRIEFING FROM ON DUTY OFFICER.
| 2) REVIEW-ALL PAPERWORK, GREEN BOOK, POST ORDERS,
AND-CONFIRM COUNTS ON POPULATION SHEETS.

3)EXIT CONTROL ROOM AND NOTIFY CENTRAL-MEET

WITH OFFICERS TO CONDUCT SAFE/ACCURATE COUNTS.
| 4) CONDUCT COUNTS SAFELY ACCURATELY, QUICKLY. IN
. | ACCORDANCE WITH A.C.A-STANDARDS. -

|| 5JEPON- COMPLETION OF COUNTS, SIGN TO VERIFY ON
POPULATION SHEETS AND RE-ENTER CONTROL ROOM. |
~ | ONOTIFY CENTRAL OF ENTRY TO CONTROL ROOM AND ~
THAT COUNTS ARE VERIFIED/CLEARED-ASSUME DUTY. .
7) MONITOR ALL SECTIONS AND MAKE AN ENTRY ON
_| YOUR LOG STATING WHAT WA

MINUTES). THIS C

Case 1:05-cv-00326-LG-JMR Document77_ Filed 08/14/08 Page 11 of 39

FTO MODULE PERFORMANCE CHECKLIST

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Chapter . Trainee D2 Purly Alec tse 2.21
Modular Title: CONTROL ROOM FTO o/h a3 ASY

Performance Objective: Following demonstration by the
designated Field Trainer, the trainee will. safely and.

| securely monitor inmates and the block/sections. Answer
requests by telephone, intercoms, and radio. Control and
verify counts, contro! and document access in and out of
the block/sections, and conduct and monitor visits/church
services. Properly notate all activities relating to medical.

Explains and

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{

Trainee Performs Successfully

Trainee Reads/Review task

document
Trainee explains as FTO

FTO Explains and
Demor* trates
demonstrates
Trainee
demonstrates
Trainee Practices

(Proficiency Test Completed)

| 1) ENTER CONTROL ROOM AND NOTIFY CENTRAL-
RECEIVE BRIEFING FROM ON DUTY OFFICER.

2) REVIEW ALL PAPERWORK, GREEN BOOK, POST ORDERS,
AND CONFIRM COUNTS ON POPULATION SHEETS.

3)EXIT CONTROL ROOM AND NOTIFY CENTRAL- MEET
WITH OFFICERS TO CONDUCT SAFE/ACCURATE COUNTS.

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4) CONDUCT COUNTS SAFELY, ACCURATELY, QUICKLY, IN.
ACCORDANCE WITH A.C.A. STANDARDS.

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5)UPON COMPLETION OF COUNTS, SIGN TO VERIFY ON
POPULATION. SHEETS AND RE-ENTER CONTROL ROOM. |

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@NOTIFY CENTRAL OF ENTRY TO CONTROL ROOM AND
THAT COUNTS ARE VERIFIED/CLEARED-ASSUME DUTY.

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e/a.

7) MONITOR ALL SECTIONS AND MAKE AN ENTRY ON
{| YOUR LOG STATING WHAT WAS OBSERVED(EVERY 30
MINUTES). THIS CAN BE TIME APPROXIMATE.

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8) ANSWER RADIO AND TELEPHONE-ALSO ANS WER
INTERCOM AND INMATE REQUESTS AS NEEDED. |

9) MAINTAIN ALL MOVEMENT IN YOUR BLOCK-IN/OUT OF
YOUR BLOCK USING PROPER FORMS/DO CELL CHANGES.
MONITOR ALL STAFF TO ENSURE THEIR SAFETY IN BLOCK.

. 10) DOCUMENT ALL RECREATION RELATED ACTIVITIES-
ALL MEALS IN/SERVED/OUT-WHAT WAS SERVED-# TRAYS.

“TTY ACCURATELY MAINTAIN POPULATION SHEETS-IF ON
MIDNIGHT SHIFT CONDUCT ACCURATE RE-WRITE. THIS
SHOULD BE ACCOMPLISHED WITHIN TWO(02) HOURS.

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12) PROPERLY BRIEF ONCOMING OFFICER AND ENSURE
ALL PAPER WORK/BOOKS/FORMS WERE UTILIZED
PROPERLY. DO NO LEAVE UNTIL PROPERLY RELIEVED.

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I certify that proficiency was demonstrated by the above
rains concerning this task on 3-2/0 Y (date)
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— Case 1:05-cv-00326-LG-JMR Document 77 ‘Filed 08/14/08 Page 12 of 39
HARRISON COUNTY SHERIFF’S DEPAi TMENT

Corrections Division

Proficiency Certification Report

Trainee J. NECAISE #221 F.T.O. A. KELLY #181

Date 09-23-04 Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Control Room
Officer. Officer Necaise successfully explained and demonstrated all tasks and performance

objectives for this post. END OF REPORT.

(|

Zine Signatare _ / F.T.O’s Signature

Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: Booking Control

Page 13 of 39

Trainee ON Ei { yy A

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Performance Objective: following demonstration by the
designated Field Trainer; the trainee will: Conduct safety
and security operations, control access in and out of
booking area, registering on the proper logs persons who
enter and exit. Professionally answer the telephones and
provide information. The primary function of this post is
to be in control of access and departure of all persons.

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Trainee explains as FTO

demonstrates

Trainee Explains and

demonstrates

Trainee Performs Successfully
(Proficiency Test Completed)

Trainee Practices

1)Enter the booking control room and secure the door. Receive a
briefing from the on-duty deputy regarding daily events.

-2)Sign post orders and assume the duties of booking control-
| controlling all exiting and entering of the booking areas.

3)Document ail agencies, and all inmates coming in and out of the
facility. Example: Court, hospital, funeral, etc.

4)Monitor the security cameras’ and report any unusual-incidents to ~

the on-duty supervisor,

5)Monitor the two security gates and allow access and exit to those
.| who are authorized. Always check for identification on vehicle.

6)Demonstrate the proper technique for opening both gates at the
same time during an emergency/(firetruck, ambulance, etc.)

7)Control access and exit to the holding tanks in booking as directed
| by the booking staff-control on/off of telephones.

8)Restrict access to anyone with a firearm on, excluding law
enforcement using the elevator for upstairs access.

9)Notify S-1 when any inmate(s) departs/returns through booking
4 control by either ambulance or transport for the hospital.

10)Answer the telephone for limited information to those calling for
bonds, releases and general inquiries.

[1)Brief the oncoming staff on all information in regards to booking
and booking control.

{2)Upon departure from booking control, ensure that the relieving
| officer is eye and that the door is secure.

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 14 of 39
HARRISUN COUNTY SHERIFF’S DEPAKTMENT

Corrections Division

Proficiency Certification Report

Trainee J. Necaise #221 F.T.O. A. KELLY #178

Date 9-23-04 Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Booking

Control Room Officer. Officer Necaise successfully explained and demonstrated all tasks and

performance objectives for this post. END OF REPORT.

F.T.O’s Signature

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Case 1:05-cv-00326-LG-JMR | Document 77 ~~ Filed 08/14/08

FTO MODULE F PERFORMANCE CHECKLIST

Chapter Trainee Ne ¢ i

Modular Title: Perimeter Rover FTO

Page 15 of 39

| Performance Objective: Following demonstration by the designated Field
| Trainer, the trainee: will: Conduct safety and security inspections of the
perimeter. These areas include the fences, rooftops, parking lot,
walkways, windows, doorways, and grassy areas.

‘Trainee Reads/Review task

document

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| Trainee Performs Succes:

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(Proficiency Test Completed)

1) Receive briefing from S-1 on any information that may concem the
perimeter of the facility-such as risk inmates, construction areas, ete..

-2) Report to central to advise that you are now 10-08 on perimeter, and sign the
perimeter keys out.until the end of shift. .

3) Do a-complete perimeter check of the fences/gates and verify that all is in order.
Report. any questionable.areas immediately to S- 1.

4) Do a complete roof check. Check for holes, all air vents, and make ‘sure maintenance -
didn’ t leave-any tools behind.

5) A30 minute © activity § watch will be conducted along ¥ with an outside security inspection
checklist.

6) Doa comnplete check of all perimeter fighting and locks. Report any problemas of
‘maintenance to central control.

7) Do a complete check of inner perimeter. Check. the windows make sure theirs no holes
in them, and man hole covers.

8) Report all security infractions to the $1 on duty.

I certt op by the above trainee
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Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 . Page 16 of 39
HARRISON COUNTY SHERIFF’S DEPARTMENT

Corrections Division

Proficiency Certification Report

Trainee J. Necaise #221 F.T.O. A. KELLY #181

Date 09-23-04 Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome. .
Officer Necaise has been assigned as Perimeter Officer in the past. When questioned

about the post Officer Necaise advised F.T.O. Kelly that upon assuming Perimeter Officer duties
he meets with the regular Perimeter Officer in the parking lot to get a briefing on any special
events that may be happening.

Officer Necaise explained how to conduct a Security Check of the Outer Perimeter Fence
and lighting. He pointed out what kind of discrepancies to look for, such as lights out, holes in
or under the fence and to check all gates and locks and that while conducting an Inner Perimeter

Fence Security Check to basically note the same type discrepancies as the Outer Perimeter Fence

. in addition to noting the locks on the sewer accesses and the condition of the sally port rocks and

razor wire. F.T.O. Kelly advised Officer Necaise that while conducting an Inside Perimeter
Security Check of all four blocks to walk approximately 10 to 15 feet away from the building.
F.T.O. Kelly explained that from such a vantage point he could properly check all cell windows
for damage or signs of tampering and inmate movements within the cell without actually having
to peer into each cell unnecessarily. As with the Outer and Inner Perimeter Fence Security
Checks, F.T.O. Kelly pointed out the discrepancies to look for. Officer Necaise has safely
conducted Roof Security Checks and was advised, for safety reasons, that when it is raining, -
lightning, and/or high winds roof checks are not to be conducted. _

Officer Necaise explained how to complete the Outside Security Inspection Checklist and
the Outside Security Report after each security round and that it should read like a block log —
log in start and stop times of each event (i.e. Outer Perimeter Fence Security Check, inner

- Perimeter Fence Security Check, C/D Inside Perimeter, A/B Inside Perimeter, and Roof Security
Check). .

Officer Necaise successfully explained and demongffated all tasks and performance

oo post, END OF REPORT.
. Vy U F.T.O’s Signature

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: ROVER

Trainee {\

FTO

Page 17 of 39:

Pl

Performance Objective: Following demonstration by the

_| designated. Field Trainer,-the:trainee will: Provide escorts
‘| of inmates, visitors, contractors; and staff to areas of the

facility. At all times display safety and security
techniques, respond to emergency Tequests, and id assigned

details.

Trainee Reads/Review ‘task

document

“FTO Explains and -

Demonstrates

Trainee explains as FTO

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Trainee Practices

Trainee Performs Successfully
(Proficiency Test Completed)

1) Report to the de-briefing area at the beginning of the shift to sign in’

the post orders book, after having read them..

2)Receive briefing from the offgoing and oncoming rover and S-1.

3) Receive and carry out any and all tasks assigned from the S-I.

4) Assist all-officers in need of help.in any area(s) such as. retrieving
copies of forms, paperwork, and when possible relief from post.

5) Properly escort inmates to and from the blocks, medical, church,
C.I.D., attorney visits, etc.. At-all times be security minded: -

. -6) Properly initiate and Conduct a proper Classification move from B/F

to the blocks. At all times maintaining: security, and order - no ‘talking.

7) Properly check and verify that no inmates are together thal are —
‘prohibited to be, by using the no contact book in de-briefing.

8) Demonstrate proper procedure for moving inmates from one area to

, another,include properly demonstrating proper handcuffing/shackling.

| 9) Keep central control aware of moves and when they are

completed. ‘lf opposite sex are being moved, have central monitor.

{0) While in ‘hallways check all doors to make sure they are secured.

tl) While | in “hallways check all areas for- cleanliness, water spills,

-| food trays, g garbage, blue boats, and any other items to be stored.

12) Upon completion of your shift properly brief the offgoing S-1,
the oncoming S-1, and the oncoming rover.

T certify that proficiency was dep opel by the above

_ Vt (date)

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ay

“Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 18 of 39
HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division
Proficiency Certification Report

Trainee J. Necaise #221 F.T.O. A. KELLY #181

Date 09-21-04 Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome.

Officer Necaise has been assigned as Rover in the past. Officer Necaise reads and signs
the Post Orders in de-briefing.

It was explained that the Rover will assist any Officer requesting copies or in need of any

other assistance and when possible, short term/temporary relief from post.

Officer Necaise showed the proper way to escort inmates from their block to church,
court, Medical, etc. and the proper use of restraints (i.e. daisy chain — cuffing all inmates left
hand to chain prior to exiting block, cuff and shackle all B-Block inmates). Officer Necaise
showed how to properly check and verify that no inmates are together that are on the “NO
CONTACT” list prior to any movement. It was stressed that when escorting inmates, notify
Central Control to monitor the movement, especially when inmates of the opposite sex are being
moved.

Officer Necaise was reminded that Safety, Security, and Sanitation is every Officers
responsibility and as Rover.especially. Officer Necaise was reminded that while making security
rounds, check all doors to ensure they are secured and check all passageways for cleanliness and
safety conditions then report any discrepancies to the Shift Supervisor.

Officer Necaise has performed Classification Moves and explained that names should be
double checked and I.D. bands. verified (if they were issued) prior to making any move: If
moving an inmate from B-F to general population the Rover must determine if the inmate has a
full County Issue (2 sets of uniforms, mattress, mattress cover, 2 sheets, pillow, pillow case,
blanket, towel, toilet tissue, cup, spoon, soap, toothbrush, and tooth paste) and if not, stop by
Booking while in route to assigned block to obtain missing items.

In addition to the above, Officer Necaise was reminded that any orders or.tasks received
from the Shift Supervisor are also to be carried out.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of
Roving Officer. Officer Necaise successfully explained and demonstrated all tasks and

' performance objectives for this post. END OF REPORT.

€°s Signathre ~——__ WV S L/ _ F.T.O’s Signature
Case 1:05-cv-00326-LG-JMR ‘Document 77 Filed 08/14/08 .

FTO MODULE PERFORMANCE CHECKLIST -

Chapter
Modular Title: CENTRAL CONTROL

Page 19.0f 39 ~

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Performance Objective: Following demonstration by the
designated Field Trainer, the trainee will: Properly control
‘and document access to.sécure areas, monitor staff/inmate
‘movement in hallways, assist with soiting/documentation
of U.S. mail when needed, and in a professional manner
communicate telephonically by radio; and overhead ,
speakers.

Trainee Reads/Review task

document

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Trainee Practices.

Trainee Performs Successfully

‘(Proficiency Test Completed)

|) Enter central control and receive a briefing by the on duty central control operator.
Read any/all information in regards to the pass-on book, memos, observation sheets.

“[ 2) Ensure that all keys are logged in/out and accounted for prior to relieving the on duty
officer. All keys are tobe stored.in a secure manner, in their proper location/area.

3) Ensure that all inmates are logged iaout accurately ‘on nthe movement sheet, in °
coordination with the booking control officer. ‘Transcribe inmate names onto new form
if necessary — double check the accuracy with the sending control room or area.

4) Relieve the on duty central control officer and assume post for duty. “Do not allow
anyone to enter your area unless a sergeant or above, or if cleared by S-1 or higher.

3) Answer all incoming telephone calls with “Harrison County Sheriff's Department
"| Corrections Division, Deputy : speaking, may I help you"? Direct alt calls. -
properly in-accordance with the facility rules and regulations: Always be helpful.

6) Monitor all movements within your view concerning court, staff, inmates, and ~
visitors. Be security/safety minded in regards to all activities that you observe. Repost
‘| .all security/safety infractions to the on duty supervisor, via southern linc or telephone.

- 7) Monitor and track the locations of contractors working in coordination with the
maintenance staff Keep S-1 informed of their work details/use of equipment.

3 Coordinate any/all emergencies by use of. vadio, southern linc, and telephone. Also
_use the public address system for notification(s) or to direct. staff.

9) Be familiar with all emergency contact numbers for police, fire, rescue, dispatch, and
employees. .Do not give out any telephone numbers unless cleared by: S-1 or higher.

10) Access secure doors from the central control panel i in a safe and secure manner. At
all times monitor secure areas to see that they remain secure e and clear ofi inmates.

, shift or emergencies.

t i Show proficiency 1 in handling multiple tasks in 4 safe, secure, efficient. manner. At
. fimes you may have to handle many tasks at the same time, especially during abusy .

13) Demonstrate the proper way to log and sort the U.S. Mail — always be on the alert
tor any mt package(s). If any concern immediately notify S-1 for assistance.

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Case 1:05-cv-00326-LG-JMR Document77_ Filed 08/14/08 Page 20 of 39
HARRISGN COUNTY SHERIFF’S DEPAKTMENT

Corrections Division

Proficiency Certification Report

Trainee J, NECAISE 221 F.T.O. A. KELLY #181

Date 09-23-04 Page OL of 01

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Central
Control Room Officer. Officer Necaise successfully explained and demonstrated all tasks and

performance objectives for this post. END OF REPORT.

Mt

VAL F.T.O’s Signature
Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: Medical Rover

FTO

Page 21 of 39

Trainee Ne Cis 1S)

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Performance Objective: following demonstration by the
designated Field Trainer; the trainee will: Provide safety
and security in the medical ward. Control inmates in need
.| of medical attention. The trainee will control access to-and
from the exam rooms and at times will escort inmates to
and from the blocks.

Trainee Reads/Review task

document

FTO Explains and
Demonstrates

Trainee explains as FTO

demonstrates

Trainee Explains and

demonstrates

Trainee Practices

Trainee Performs Successfully
(Proficiency Test Completed)

Maintain Security in Medical Department at all times.

| Provide Security for Medical Staff.

Transport Inmates to and from Medical.

Notify Shift Supervisor of any Medical [ Emergency.

-| Never leave your duty post unless authorized by medical
staff.

Maintain Security of Medical Equipment and Medication
at all times.

‘Over all Security of Medicai Department, doors secure
and Inmates Restrained.

Make sure that no Inmate is left in Medical Department
without Security.

Escort Medical Staff and. provide Security during
Medication Pass.

Properly Brief Officer relieving Medical Security.

Perform all Duties as assigned.

L\ :
I cerfify that proficiency was demonstrated y the above
YEA OY (date)

A.W

Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 22 of 39
HARRISON COUNTY SHERIFF’S DEPAKTMENT
Corrections Division

Proficiency Certification Report

Trainee J. Necaise #221 F.1.0. WL KELLY #220

Date 9-23-04 Page 01 of 01
Narrative: Give a brief description of training conducted today and outcome.

Officer Necaise was given a copy of the Medical Rover Performance Checklist to read
over. It was stressed that while assigned as Medical Rover, the Officer’s main function is to
provide security for the Medical Staff, Medical Department equipment and medications. The
‘ ‘Medical Rover will escort Medical Staff and provide security during Medication Pass. At no
time will an inmate and a Medical Staff member be left alone together. In the event of a

Medical Staff member needing to examine a female inmate, there must be a female Officer
present. At no time will an inmate be left in the Medical Department without an Officer being
‘present, even if the inmate is secured in the Waiting Room. All three doors to the Medical
Department Waiting Room must be secured while inmates are present in Medical.

The proper way to escort inmates to and from Medical and the proper use of restraints
(i.e. daisy chain — cuff all inmates left hand to chain prior to exiting block, cuff and shackle all
B-Block inmates) was discussed. Handcuffs and daisy chain cuffs may be removed only after
entering then securing the Medical Department Waiting Room door.

F.T.O. carried out the proficiency test on Officer Necaise for the position of Medical

Roving Officer. Officer Necaise successfully explained and demonstrated all tasks and

performance objectives for this post. END OF REPORT.

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: Booking Control

FTO

Page 23 of 39

Trainee Ne, SL ae

HELIX [f)

Performance Objective: following demonstration by the
designated Field Trainer; the trainee will: Conduct safety
and security operations, control-access in and out of
booking area, registering on the proper logs persons who
enter and exit. Professionally answer the telephones and
provide information. The primary function of this post is
to be in control of access and departure of all persons.

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Trainee explains as FTO

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Trainee Performs Successfull
(Proficiency Test Completed)

\)Enter the booking contro! room and secure the door. Recéive a
briefing from the on-duty deputy regarding daily events.

2)Sign post orders and assume the duties of booking control-
controlling all exiting and entering of the booking areas.

3)Document all agencies, and all inmates coming in and out of the
facility. Example: Court, hospital, funeral, etc.

4)Monitor the security cameras and report any unusual incidents to
the on-duty supervisor,

5)Monitor the two security gates and allow access and exit to those
who are authorized. Always check for identification on vehicle.

6)Demonstrate the proper technique for opening both gates at the
| same time during an emergency(firetruck, ambulance, etc.)

| 7)Control access and exit to the holding tanks in booking as directed
by the booking staff-control on/off of telephones.

$)Restrict access to anyone with a firearm on, excluding law
enforcement using the elevator for upstairs access. _

9)Notify S-1 when any inmate(s) departs/returns through booking |
control by either ambulance or transport for the hospital.

i0)Answer the telephone for limited information to those calling for
bonds, releases and general inquiries.

1 1)Brief the oncoming staff on all information in regards to booking
and booking control.

(2)Upon departure from booking control, ensure that the relieving
offi cer is fully briefed, and.that the door is secure.

that proficiency was a ‘ trated by the above

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Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 24 of 39
HARRISUN COUNTY SHERIFF’S DEPAsx TMENT

Corrections Division

Proficiency Certification Report

Trainee J. Necaise #239 F.T.O. A. KELLY #181

‘Date 9-23-04 Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Booking
Control Room Officer. Officer Necaise successfully explained and demonstrated all tasks and

performance objectives for this post. END OF REPORT.

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F.T.O’s Signature

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Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: Front Desk

Trainee
FTO

Page

25 of 39

Performance Objective: following demonstration by the
designated Field Trainer; the trainee will: Conduct
operations of the front desk and lobby to assist with
bonds, visits, telephone calls, and direct any and all
persons with requests in a professional manner.

Trainee Reads/Review task

document
FTO Explains and

Demonstrates

Trainee explains as FTO

demonstrates

Trainee Explains and

demonstrates
Trainee Practices

y

Trainee Performs Successful!
(Proficiency Test Completed)

1) Receive a briefing from the off-going watch as to the status of any
pending items relating to the Front Desk. Read and sign post orders.

2) Conduct a sanitation security, and fire/safety hazard inspection of
the lobby area at the beginning of each shift and immediately upon the
completion of the last visitor leaving the facility.

3) Greet all visitors to the facility with professional courtesy. Register
all visitors in the perspective visitation log ( i.e. bond, attorney,
minister, or general). Ensure the visitor’s name is on the inmate’s
visitation list. Inform visitors of the dress code for visitation, the rules
of visitation and storage of all personal property in lockers.

4) Notify Control Room Officers what inmates have visitors standing
by and what time the visit will commence.

5) Monitor all visitors while they are in the lobby. Ensure there is no
‘smoking in the lobby. Notify the Shift Supervisor of any situations
that could cause the termination of a visit or in the case of unruly
visitors,

6) Ensure the accuracy and completeness of pre-release bond
documents and perform bond duties in accordance with HCADC
policy and procedures.

7) Issue a cash bond receipt to the person presenting cash for a cash
bond after verification of the amount of cash by the Shift Supervisor
and the Front Desk Officer.

8) Answer incoming phone calls in the following manner: “Harrison
County Sheriffs Department, this is Deputy___, may I help you?”
Ensure to release only authorized information about inmates, i.e. if it
is on the PUB screen, it may be released.

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Case 1:05-cv-00326-LG-JMR Document 77 ‘Filed 08/14/08 Page 26 of 39

HARRISON COUNTY SHERIFF’S DEPARTMENT

Corrections Division

Proficiency Certification Report

Trainee J.NECAISE #221 F.T.O. A.KKELLY #181

Date 09-23-04 “Page 01 of 01

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Front Desk
Officer. Officer Necaise successfully explained and demonstrated all tasks and performance

objectives for this post. END OF REPORT.

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F-T.O’s Signature

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Case 1:05-cv-00326-LG-JMR Document 77 © Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

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1 va 181

Chapter
Modular Title: FLOOR OFFICER

FTO

_Page 27 of 39

Performance Objective: Following demonstration by the.
designated Field Trainer the trainee will: Provide safety

EXERCISE YARD LOG(ALSO IN THE PASS-ON BOOK).

9) PROPERLY DEMONSTRATE PREPARING INMATE(S) FOR TRANSPORT
OUT OF THE BLOCK(SEARCHING AND RESTRAINTS). PROPERLY NOTIFY
ALL PARTIES INVOLVED(CONTROL ROOM, CENTRAL, ROVER). |

10) INVESTIGATE ANY RULE VIOLATIONS IN THE BLOCK, AND ANY/ALL

| BREACH OF SECURITY. DOCUMENT/NOTIFY ON DUTY SUPERVISOR.

It) PROPERLY HANDLE/DIRECT ALL INMATE REQUESTS TO THE PROPER
AUTHORITY. DEMONSTRATE HANDLING A BASIC INMATE REQUEST IN
THE BLOCK. EXAMPLE: CLOTHING EXCHANGE, HYGIENE, ETC.

12) PROPERLY BRIEF ALL ONCOMING OFFICERS OF BLOCK INFORMATION —
AND. ANY SPECIAL CONCERNS. HAVE ALL INMATES READY FOR PROPER
HEADCOUNT. ENSURE ALL MOVEMENT HAS STOPPED/TELEPHONES OFF.

[ certify tat proficiency was demonstrated by the above
| traingeepncerning this tasko 408: Y/ (date) ©

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and security supervising all inmate activities within the : O 36
block and sections. At all times be knowledgeable of | 2 te z 2 é
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inmate counts, requests and special requirements of the 2 g 2 2 go) 2%
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individual block assigned, to include recreation time. at 3 2gseo/Se/816s te
. te . : . «oe ‘ . a oH aS = 3
all times monitor the safety of all staff and visitors to the | 2. -l28 ee |H2 | E]S 2
block. Prepare inmates for transfer/receive arriving & gigas 82/82 /8 ] 82
iuunales, ‘“s3/QlSe | SE] Ss [wf
eu} male U leo }e Tee
() ENTER THE BLOCK AND REVIEW ALL PAPERWORK PERTAINING TO
‘THE INMATES; PASS-ON BOOK, POPULATION, OBSERVATION SHEETS,
POST ORDERS, AND VISITOR LOGS. REVIEW PAST THREE(03) DAYS.
2) CONDUCT A PROPER HEADCOUNT IN ACCORDANCE WITHACA.
STANDARDS: IN A SAFE, ACCURATE, AND TIMELY MANNER.
3)VERIFY AND CLEAR THE COUNT WITH THE E CONTROL ROOM OFFICER,
ASSUME FLOOR DUTIES.
“2 CONDUCT AN ACCURATE INVENTORY OF ALL RESTRAINTS: PRESENTLY
ASSIGNED TO THE BLOCK. DOCUMENT IF ACCOUNTED FOR OR MISSING.
| S)INITIATE SAFETYSECURITY INSPECTIONS IN ALL SIX(00) SECTIONS
| OF THE BLOCK/YARD/VISITATION AREAS: CONTINUALLY CHECK
DURING YOUR SHIFT, NOTING ANY DEFICIENCIES/WORK ORDERS.
| 6) SERVE MEALS, ACCOUNT FOR ALL TRAYS ENTERING/EXITING BLOCK.
NOTATE TIME IN, MENU, TIME QUT — NUMBER OF TRAYS IN/OUT.
| ALL TRAYS MUST.BE ACCOUNTED FOR/HOLD TRAYS FOR INMATES OUT.
7) PROVIDE SECURITY ESCORT FOR MEDICAL STAFF DURING
MEDICATION PASS — ALSO IF INMATE IS TNJUREDALL.
8) PROVIDE SECURITY FOR RECREATION/VARD CALL — SUPERVISE AND
DOCUMENT THE SECTION AND AMOUNT OF INMATES PRESENT ON THE mT

Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 28 of 39
HARRIStU.¥ COUNTY SHERIFF’S DEPA.. [MENT

Corrections Division

Proficiency Certification Report

Trainee J. NECAISE #221 F.T.O. A.KELLY 181

Date 09-21-04 Page 01 of 01°

Narrative: Give a brief description of training conducted today and outcome.

F.T.O. Kelly carried out the proficiency test on Officer Necaise for the position of Floor
Officer. .Officer Necaise successfully explained and demonstrated all tasks and performance

‘objectives for this post. END OF REPORT.

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F.T.O’s Signature .

Tyaifice’s Signature —

Case 1:05-cv-00326-LG-JMR © Document 77 Filed 08/14/08

FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: MEDICAL WATCH

FTO

Page 29 of 39

Trainee Necesse Oo? |

Key S|

Performance Objective: following demonstration by the
designated Field Trainer, the trainee will: Provide safety
and security to inmates assigned to. D/F by constantly

monitoring and logging events. Properly document in the

pass on book and any assigned observation forms as
required. Contact medical staff through the control room if
any inmate is in need of attention.

Trainee Reads/Review task

document

FTO Explains and
Demonstrates

Trainee explains as FTO

demonstrates

Trainee Explains and

demonstrates

Trainee Performs Successfully
(Proficiency Test Completed)

Trainee Practices

{) ENTER D/F MEDICAL SECTION AND REVIEW ALL INFORMATION IN THE
PASS-ON BOOK, POPULATION LAY-OUT, OBSERVATION SHEETS, VISITOR
LOG. AND SIGN POST ORDERS. REVIEW LAST THREE(03) DAYS EVENTS.

2) CONDUCT A PROPER HEADCOUNT IN ACCORDANCE WITH A.C.A.
STANDARDS; IN A SAFE, ACCURATE, AND TIMELY MANNER.

3) VERIFY AND CLEAR THE COUNT WITH THE CONTROL ROOM OFFICER.
ASSUME D/F MEDICAL DUTIES.

| 4) CONTINUALLY MAKE SAFETY/SECURITY CHECKS OF THE SECTION

THROUGHOUT THE SHIFT TO ENSURE CARE. CUSTODY, AND CONTROL.

3) DUE TO THE FACT OF D/F BEING A MEDICAL SECTION, ENSURE THAT
SANITATION AND HYGIENE ARE HIGHLY MAINTAINED. .

6) MAINTAIN A GOOD PROFESSIONAL RAPOR WITH THE INMATES IN D/F

“TO ENSURE ALL INMATES ARE SAFE AND RECEIVING PROPER CARE.

7) HANDLE ALL INMATE REQUESTS IN A TIMELY MANNER AND DIRECT
THE ONES YOU'CANNOT ANSWER TO THE PROPER AUTHORITIES.

8) BE AWARE OF ALL SUICIDAL INMATES, AS TO THEIR MEAL INTAKE,
HYGIENE, ATTITUDE AND BEHAVIOR. ALWAYS KEEP A VISUAL.

9) SPEAK WITH MEDICAL STAFF FREQUENTLY IN REGARDS TO ANY TYPE
OF CONCERN(S) ABOUT AN INMATE. UTILIZE THE CONTROL ROOM OFF-
ICER, S-!, OR THE NURSE ON THE BLOCK PASSING MEDICATIONS.

10) PROPERLY AND THOROUGHLY BRIEF THE ONCOMING OFFICER TO
D/F TO ENSURE THAT ALL WATCHES, OBSERVATIONS, AND UNUSUAL/
SERIOUS CONCERNS ARE BROUGHT TO NOTE. PROVIDE ALL CONCERNS.

if) FULLY UNDERSTAND AND ACKNOWLEDGE THAT AT NO TIME WILL
ANY OFFICER LEAVE D/F FOR ANY REASON UNLESS CLEARED BY THE
DIRECTOR OF CORRECTIONS AND/OR THE SHERIFF - *IMPORTANT*

(2) MAINTAIN A HIGH STANDARD OF CLEANLINESS - BE REMINDED THAT
D/F IS A MEDICAL UNIT AND THAT UNIVERSAL PRECAUTIONS MUST BE
USED AT ALL TIMES. C.P.R. AND FIRST AID CERTIFICATION MANDATORY.

I certify-shat proficiency was demonstrat¢d by the above
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Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 30 of 39

-- SHIFT TRAINING

~ ACA STANDARDS

on, /21 WF | ISLEED SURMISE RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON ACA STANDARDS; CENTRAL CONTROL; DURING THE 1500-2300 HOUR
SHIFTS BRIEFING.

coon SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285"

SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 31 of 39

SHIFT TRAINING

ACA STANDARDS

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ON. sawoG Te KD WASH /GeTRECEIVED a \5- MINUTE BLOCK

PRINT NAME
- TRAINING ON ACA:SFANDARDS; DENTAL: ‘SERVICES; ‘DURING THE 1500-2300 HOUR SHIFTS
BRIEFING.

ZR BADGE NUMBER

SHIFT SUPER VISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161

‘SGT: EARNEST-THOMAS #285

SGT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 32 of 39

SHIFT TRAINING

ACA STANDARDS

“ON, / AOS DE SME LP Aenea - RECEIVED a 15-MINUTE BLOCK
. PRINTNAME —
‘TRAINING ON ACA STANDARDS: SEXUAL HARASSMENT; DURING THE 1500-2300 HOUR

SHIFTS BRIEFING.

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sips AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR

' - SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

-- SGT. EDDIE COLLINS #254 ett tena cenee
Case 1:05-cv-00326-LG-JMR Document77 Filed 08/14/08 Page 33 of 39

SHIFT TRAINING

ACA STANDARDS

ON, jQO704 jean Spe LH bee RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON ACA STANDARDS; AFFIRMATIVE ACTION PLAN ; DURING. THE 1500-2300

HOUR SHIFTS BRIEFING.

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es ND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
- SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

SGT. EDDIE COLLINS #254
_ Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 = Page 34 of 39

SHIFT TRAINING
ACA STANDARDS
ON, 12-3-2004 vL. Sap LL OELEE. RECEIVED a 15-:
MINUTE BLOCK

TRAINING ON POLICY AND PROCEDURES; Uniform and Personal APPEARANCE DURING THE,
1500-2300 HOUR SHIFTS BRIEFING. tg

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Lom STGRATOREANDBATOE NUMBER

_SHIET SUPERVISORS/AINSTRUCYOR
SGT. KENNETH ROGERS #161 ~~
-- SGT: EARNEST-THOMAS #285- - 4
af SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/14/08 Page 35 of 39

SHIFT TRAINING
ACA STANDARDS
oo ON, 11-30-2004 Gl ) EXER LV OLPLEE. RECEIVED a 15-
MINUTE:BLOCK | oRINT NAME

- “TRAINING ON POLICY AND:PROCEDURES; Chain of Command; DURING THE 1500-2300 HOUR
SHIFTS BRIEFING.

BOT

~ -
PONIES BADGE NUMBER .

SHIFT SUPERVISORS/INSTRUCTOR
“.L2SGT. KENNETH ROGERS #161
‘SGT. EARNEST THOMAS #285

"SGT. EDDIE COLLINS #254"
Case, 1:05

| HARRISON COUNTY SHERIFF DEPARTMENT TRAINING RECORD

“CRO0S26-L GM Document 77

{BADGE #: 143 ©
oO
@ CLASSICERTIFICATION ~ [DATE TRAINING HOURS. | REMARKS
oS iS. "10-Sep-09 | 44HRS
Oo RVICE TRAINING EAST TRACK OFFICER SESSION OVERVIEW 27-Jan-00. 1.15 HRS
-iw-VERVIGE TRAINING STRESS | 2-Mar-00 — 1.15 HRS
2 CRITIGALANCIDENT TRAINING — 28-Mar-00 12 HRS ————
_.t “SERVICE TRAINING REPORT WRITING ~~ 49-Apr-00 2HRS :
S jO.C. SPRAY CERTIFICATION. : __| _16-Nov-00__[ 'UNK ~\
ASP BATON CERTIFICATION. | t7-Nov-00_ | UNK7 ~ Tv
WIP.P.C.T, CERTIFICATION [20-Nov-00 3 DAYS [EXPIRES NOV 2002 yj
i/ FIELD TRAINING OFFICER BASIC COURSE ~29-Dec-00 16 HRS 7
BLOCK OF INSTRUCTION GENERAL RULES OF CONDUCT 26-Mar-01 10 NIN~ 7
BLOCK OF INSTRUCTION LEGAL ASSISTANCE 30-Mar-04 “10 MN
BLOCK OF INSTRUCTION PERSONNEL SELECTION E RETENTION 31-Mar-01 10 MIN Ne
[BLOCK OF INSTRUCTION POST ORDERS. _ — t-Apr-ot “40MIN ~~
BLOCK OF INSTRUCTION SECURITY PROMOTIONS. ° ~ 4-Apr-01 10MIN
BLOCK OF INSTRUCTION FACILITY GOALS PURPOSE & MISSION — 5-Apr-01. |. 40 MIN.
[BLOCK OF INSTRUCTION PERSONNEL ECORDS ~{_. 9-Apr-01 40 MIN" 7
BLOCK OF INSTRUCTION MONTHLY STATISTICAL REPORTING | 40-AproT 7740 MIN. \ 9
BLOCK OF INSTRUCTION BOOKING & RECEIVING ~~ ~ 43-Apr-04 (_ 10MIN. +>
BLOCK OF INSTRUCTION CLASSIFICATION... SSS ADOT "NO MINS.
BLOCK OF INSTRUCTION CUSTODY INQUIRIES. _[._t8-Apr-o1 1 OMIN
BLOCK OF INSTRUCTION PERSONAL PROPERTY INVENTORY 7 18-Apr-01 | 10 MIN
3LOCK OF INSTRUCTION KEY CONTROL ~ 49-Apr-04 70 MIN
BLOCK OF INSTRUCTION INMATE CUSTODY. RECORDS — 23-Apr-01. 1” TOMIN ~
BLOCK OF INSTRUCTION SPEGIAL NEEDS INMATES | a -AprOt 10 MIN
BLOCK OF INSTRUCTION SECURITY SUPERVISION OF HOLDING CELLS" [~~ 26-Apr-01 40MIN
BLOCK OF INSTRUCTION TELEPHONE USAGE "90-Apr-04 70 MIN
BLOCK OF INSTRUCTION INMATE UNIFORM & HYGIENE ISSUANCE 17 _2-May-01 | “10 MIN
BLOCK OF INSTRUCTION:FORCED CELE MOVES ~~ o-May-01. | 10 MIN
Eo 9-Aug-01 4 HRS.
SERIOUS OR UNUSUAL INCIDENT REPORTING r a | Bs OCT MIN

LAST UPDATED:2/7/06- 41OF2
HARRISON COUNT

_ LAST UPDATED 2/7/06

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oo (NAME: . |BADGE #: CONTINUATION ‘SHEET
& DATE HIRED: |
99 CLASS/CERTIFICATION DATE “TRAINING HOURS REMARKS |
S JSOHRS COURSE 71-Sep-03 S0 HRS
qd GANGS 22-Jan-04 15 MIN
PPCT 18-Mar-04 3. HOURS
© [EVIDENCE 3-Aug-04 2HRS
UL TEVIDENCE 8-Sep-04 15 MIN~
FLAMMABLE TOXIC, CAUSTIC MATERIALS ~~ 9-Sep-04 _ 15 MIN
ht [POST COMPLETION: VISITATION R OVER 18-Sep-04 16 HRS
[POST COMPLETION: PERIMETER OFFICER 18-Sep-04 16 HRS
dt RIOTS AND DISTURBANCES 23-Sep-04 45 MIN
5 [HOSTAGE 10-Sep-04 15 MIN
S [POLICY AND PROCEDURE DIRECTIVE: CUSTODY DIRECTIVE 7-Dec-04 15 MIN
ClREPLACEMENT OF INMATE 1D BANDS 16-Dec-04 ~415 MIN
HEALTH CARE SERVICES 20-Dec-04 15 MIN -
< MAIL, TELEPHONE, AND VISITING 21-Dec-04.__ 15 MIN
S[SUCIDE C RISIS INT ERVENTION 23-Dec-04 15 MIN"
OICALLING IN SICK. “ 27-DeC-04__ _ 45 MIN
— ANNUAL, MILITARY, AND TRAINING LEAVE REQUEST 28-Dec-04 15 MIN
A,CODE OF ETHICS ___| .. 29-Dec-04. 15 MIN
a EALTH CARE SERVICE | Sdane08" 15 MIN.
° 4/19/05 MEMO: EXTENDED RECREATION TE: 20-Apr-05. "45 MIN ~ "
@{TAZER X26 CERTIFICATION |. 27-Apr-05 “8. HRS EXPIRES IN 1 YEAR
LOILIBRARY SERVICES. INMATE ASSISTANTS __| > 29-Apr-05 15 MIN oO
EMERGENCY: & SECURITY PROCEDURES [28-Jun-05 “4 HRS |
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NAME: Tee. L, Ruy WD

Filed 08/14/08 Page 38 of 39

BADGE#: Z.2Q

Zz ENTE

_Ge 1B-O4

» CONTROL ROOM _

Gl S-d¢Y

Kelly 13 /

- [BOOKING CONTROL _

CENTRAL CONTROL f.

“a, OY- oY |

Kelly L3l |

- [FLOOR OFFICER _

~9-13- OY

Kelly. 13. [ | / -

{ROVER

L ‘aly La sal a

: MEDICAL ROVER

Lo Lod

[rrowr DESK.

hz otf)

| tell Jal

° VISITATION X ROVER |

oe SCAT WATCH.

418. ot

Ke Ly. L sf i _

80 HOUR COURSE _

[FINAL EVALUATION |
Chapter

Case 1:05-cv-00326-LG-JMR Document 77 Filed 08/44/08 Paye49 of 39

FTO MODULE PERFORMANCE CHECKLIST

Modular Title: VISITATION ROVER

Trainee

FTO

tell BS

‘4 :

fatty.
O

J “Performance ‘Objective: following Temoistration ‘by the

designated Field Trainer; the trainee will: Conduct “safety 7

_| and security inspections of all ; areas pertaining to front
desk, lobby, and visitation rooms and hallways 7

Trainee ReadiReviow wak :

| document. .

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Ss
cs
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aa
oF
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9 &|
- Oo
mA

“Trainee explains as FTO ©

| demonstrates’.

| Trainee Explains-and |

-demonstrates © -

-Trainee Practices .

‘Trainee Performs Successfully
‘(Proficiency Test Completed).

1 JRepor to the front desk area, ato confer with the front desk personnel
and review any and all paperwork, mémos, and pass on book.

Dy inspect the Tobby areas and the restrooms for. contraband. Check

‘|.out front(walkway) to ensure that contraband was not left hidden.

“3)Assist the front desk personnel With the running of visitation by ~
| using a number/ticket and maintaining fairness and order.

4)Explain the rules and regulations to the visitors and ensure that all -

property(handbag, briefcase) i is stored i in the locker boxes i in lobby.

-5)Escort the visitors to the visitation area when directed to ‘do so by of
thé front desk: petsontiel.” Maintain order in doing So.

: "6)Monitor the ongoing Visitation and the Visitors. in, the lobby by .
, ‘continuously. walking back and forth between thie: areas, \

| Tywhen notifi ed by the front desk ‘personnel to do-so, escort the
visitors from visitation back to the lobby-repeat stép #5.

7 8)Demonstrate g good. communication skills with the vistors and.
“maintain a professional: appearance ; and. positive. attitude at all’ times.

‘1 9)Alfareas that were accessed by visitors must be properly, searched
‘| Upon completion of visitation, as soon’as all have departed the area.

[0)Any contraband found will be processed properly. and turned in tO”
the evidence technician, alorig with a narrative and a case number.

oy Teerify a hat proficiency was demonstrated iby the above
‘| trainee Co; lily this task on____ date)

FTO_

— |-Trainee |

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718-04.

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